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UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF COLUMBIA

TODD M. HARPER, in his personal capacity and in
his official capacity as a Member of the National
Credit Union Administration Board,
    1775 Duke Street
    Alexandria, VA 22314
TANYA F. OTSUKA, in her personal capacity and in
her official capacity as a Member of the National
Credit Union Administration Board,                                                25-CV-1294
                                                               Civil Action No. _______________
    1775 Duke Street
    Alexandria, VA 22314
                            Plaintiffs,
                  -against-
SCOTT BESSENT, in his official capacity as                     COMPLAINT FOR
Secretary of the Treasury,                                     DECLARATORY AND
    1500 Pennsylvania Avenue, N.W.                             INJUNCTIVE RELIEF
    Washington, D.C. 20220
LARRY FAZIO, in his official capacity as
Executive Director of the National Credit Union
Administration,
    1775 Duke Street
    Alexandria, VA 22314
KYLE S. HAUPTMAN, in his official capacity as
Chairman of the National Credit Union
Administration Board,
    1775 Duke Street
    Alexandria, VA 22314
TRENT MORSE, in his official capacity as Deputy
Assistant to the President and Deputy Director of the
White House Presidential Personnel Office,
    1600 Pennsylvania Avenue, N.W.
    Washington, D.C. 20500
DONALD J. TRUMP, in his official capacity as
President of the United States,
     1600 Pennsylvania Avenue, N.W.
     Washington, D.C. 20500

                              Defendants.
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                                 PRELIMINARY STATEMENT

        1.      This case challenges the patently unlawful removal of two Senate-confirmed

Members of the Board of an independent agency tasked with core functions instrumental to well-

functioning financial markets: the National Credit Union Administration (NCUA). The President

terminated the terms of Plaintiffs Todd M. Harper and Tanya F. Otsuka in the middle of their fixed

terms as members of the Board of the NCUA, without explanation and without any cause. That

termination disregards the protections Congress established to preserve the Board’s independence

and threatens the integrity of a vital federal financial regulator.

        2.      Created by Congress in 1970, the NCUA is an independent federal agency that

insures the deposits of over 4,000 federal credit unions and protects more than 142 million

Americans who rely on a credit union for financial services. The NCUA, which safeguards over

$2 trillion in assets, stands alongside the Federal Deposit Insurance Corporation and the Federal

Reserve System among the Nation’s core financial supervisory agencies. Congress structured all

three agencies to operate independently for good reason: a stable financial system depends on

independent regulators who act free from political interference, guided by expert judgment in line

with statutory mandate.

        3.      The NCUA’s organic statute, the Federal Credit Union Act, vests its management

in a three-member Board serving staggered six-year terms. By statute, no more than two members

may belong to the same political party, a requirement intended to ensure bipartisan representation.

This structure promotes continuity, expertise, and independence, and helps insulate credit-union

oversight from the shifting priorities of electoral politics.

        4.      During the Board’s nearly fifty years of existence, the President has never removed

a Member whose term had not yet expired. President Trump’s unprecedented removal of Mr.



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Harper and Ms. Otsuka violates Congress’s mandate and has left the Board without a quorum.

Plaintiffs seek declaratory and injunctive relief to restore the Board’s lawful composition and

preserve the independence Congress mandated.


                                          THE PARTIES

        5.      Plaintiff Todd M. Harper is a member of the Board of the NCUA.

        6.      Plaintiff Tanya F. Otsuka is a member of the Board of the NCUA.

        7.      Defendant Scott Bessent is the Secretary of the Treasury. He is sued in his official

capacity.

        8.      Defendant Larry Fazio is the Executive Director of the NCUA. He is sued in his

official capacity.

        9.      Defendant Kyle S. Hauptman is the Chairman of the Board of the NCUA. He is

sued in his official capacity.

        10.     Defendant Trent Morse is the Deputy Assistant to the President and Deputy

Director of the White House Presidential Personnel Office. He is sued in his official capacity.

        11.     Defendant Donald J. Trump is the President of the United States and is ultimately

responsible for removing Mr. Harper and Ms. Otsuka from their office. He is sued in his official

capacity.

                                 JURISDICTION AND VENUE

        12.     This Court has jurisdiction over the subject matter of this action for declaratory and

injunctive relief under 28 U.S.C. §§ 1331, 1361.

        13.     Venue is proper in this District under 28 U.S.C. § 1391(e).




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                                STATUTORY BACKGROUND

       14.     Congress enacted the Federal Credit Union Act during the Great Depression to

expand access to affordable credit at a time when traditional lenders shut out working Americans.

See S. Rep. No. 555, 73d Cong., 2d Sess. 1, 3 (1934). The Act created a system of member-owned,

not-for-profit credit unions. Oversight of these financial institutions shifted among federal

agencies until 1970, when Congress created the NCUA as an “independent Federal Agency for the

supervision of federally chartered credit unions.” Pub. L. No. 91-206, 84 Stat. 49 (1970).

       15.     When created, the NCUA was led by a single “Administrator,” assisted by an

advisory board composed of a Chair and one member from each of the federal credit union regions.

Id. at 50. Appointed by the President with the “advice and consent of the Senate,” the

Administrator then functioned as the “chief executive officer” of the NCUA and, together with the

Chair of the advisory board, “serve[d] at the pleasure of the President.” Id. The organic statute

required advisory board members to be “persons of tested credit union experience,” and imposed

no limit on how many could belong to the same political party. Id.

       16.     In 1978, Congress replaced the NCUA’s leadership structure with the framework

that exists today. Congress eliminated the Administrator and advisory board and created a three-

member NCUA Board, with each Member appointed by the President, confirmed by the Senate,

and serving a fixed, staggered six-year term. See 12 U.S.C. § 1752a. Terms thus expire every two

years. Id. The President designates one Member as Chairman, and no more than two Members

may belong to the same political party. Id. All members must be “broadly representative of the

public interest” and must have experience “relating to a broad range of financial services, financial

services regulation, or financial policy.” 12 U.S.C. § 1752a(c).

       17.     In a marked departure from the original statute, which expressly provided that the

Administrator and Chair of the advisory board “serve[d] at the pleasure of the President,” the 1978
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amendments provided no such removal authority over Members. As Senator McIntyre, sponsor of

the Senate amendment that became § 1752a explained, “the principal thrust of [the] amendment

[was] to transfer management of the [NCUA] from a single Administrator who serves at the

pleasure of the President to a three-member board with fixed terms of office.” 123 Cong. Rec.

27,396 (1977).

       18.       The D.C. Circuit examined how the 1978 amendments affected the President’s

removal authority over NCUA Board Members in Swan v. Clinton, 100 F.3d 973 (D.C. Cir. 1996).

There, although the D.C. Circuit ultimately assumed that NCUA Board Members are removable

only for cause, the court discussed the statutory structure and context under applicable law and

explained that the 1978 restructuring of the NCUA supported an inference of removal protection

during each six-year term. The D.C. Circuit emphasized that Congress had “replaced the NCUA

Administrator, who had explicitly served at the pleasure of the President, with a Board composed

of three members . . . and deleted all reference to the President’s removal powers.” Id. at 982. The

D.C. Circuit traced the shift to Congress’s broader effort to align the NCUA with other independent

financial regulators, such as the FDIC and the Federal Reserve, where removal protections—

express or implied—were widely understood to apply in service of well-functioning markets. Id.

                                  FACTUAL BACKGROUND

       19.       On or about February 6, 2019, President Donald J. Trump nominated Plaintiff Todd

M. Harper to serve a partial term on the NCUA Board. The Senate unanimously confirmed Mr.

Harper’s nomination by voice vote on March 14, 2019, and he was sworn in on April 8, 2019.

       20.       On January 20, 2021, President Joseph R. Biden designated Mr. Harper as Chair of

the NCUA Board. Later that year, on August 6, 2021, President Biden nominated him for a full




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six-year term. The Senate confirmed that nomination by a vote of 59 to 40 on June 8, 2022. Mr.

Harper’s current term expires on April 10, 2027.

       21.     On or about September 21, 2023, President Biden nominated Plaintiff Tanya F.

Otsuka to serve as a Member of the NCUA Board. The Senate unanimously confirmed her

nomination by voice vote on December 20, 2023, and she was sworn in as a Member of the NCUA

Board on January 8, 2024. Her term expires on August 2, 2029.

       22.     On April 15, 2025, at 7:00 pm, Trent Morse, Deputy Assistant to the President and

Deputy Director of the White House Presidential Personnel Office, sent Mr. Harper an email

stating in its entirety: “On behalf of President Donald J. Trump, I am writing to inform you that

your position on the National Credit Union Administration is terminated, effective immediately.

Thank you for your service.” Mr. Harper’s access to his government email account had been

discontinued earlier that evening, and the message, which was sent to the wrong address, did not

reach him until it was forwarded on April 17.

       23.     Also on April 15, 2025, at 7:01 pm, one minute after sending an email to Mr.

Harper, Mr. Morse sent Plaintiff Tanya F. Otsuka an identically worded email, likewise purporting

to terminate her position as a Member of the NCUA Board, “effectively immediately.” Again, the

email stated only: “On behalf of President Donald J. Trump, I am writing to inform you that your

position on the National Credit Union Administration is terminated, effective immediately. Thank

you for your service.”

       24.     The identical, one-sentence emails sent to both Mr. Harper and Ms. Otsuka at the

same time on the same day say nothing about the reasons for the termination, and do not attempt

to assert a basis for cause. Nor could they.




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       25.     During his tenure as NCUA Chairman, Todd Harper led initiatives that

strengthened the credit-union system’s resilience, including the implementation of risk-based

capital standards, enhancements to liquidity management, and the agency’s agile response to the

2023 liquidity crisis. He also advanced cybersecurity oversight through the adoption of a cyber

incident reporting rule and the Information Security Examination program, and promoted

consumer financial protection by increasing transparency around overdraft and non-sufficient

funds fees.

       26.     Likewise, there was no cause to remove Ms. Otsuka. She was an active partner in

ensuring the resilience of the credit union system, supporting small credit unions, and

strengthening the agency’s operations. Among her many accomplishments, she played a key role

in bolstering consumer financial protection and strengthening the agency’s underserved area

application process to ensure that credit unions provide the required service facilities—an effort

aimed at expanding access to financial services for underserved communities.

       27.     None of these efforts reflected anything other than the faithful execution of the

mission Congress entrusted to the NCUA: ensuring the safety and soundness of credit unions,

protecting consumers, and promoting public confidence in the credit union system.

       28.     The President’s removal of Mr. Harper and Ms. Otsuka has left the NCUA Board

without a quorum, rendering it unable to implement Congress’s mandate in full. Only one Board

Member, Defendant Kyle S. Hauptman, remains as both the agency’s sole Board Member and its

Chairman. But the Federal Credit Union Act vests the powers of the agency in “the Board,” not in

any one individual, with a quorum requiring a majority of the Board. 12 U.S.C. § 1752a(d). And

the “agreement of at least two of the three Board members is required for any action by the Board.”

12 C.F.R. § 791.2. With only a single Member purporting to exercise authority, the NCUA cannot



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continue carrying out the supervisory, regulatory, and institutional functions that Congress

intended to be exercised by a Board composed of at least a majority of its Members.

                                        CLAIMS FOR RELIEF

                                  COUNT ONE
              ULTRA VIRES IN VIOLATION OF STATUTORY AUTHORITY
        29.     Plaintiffs repeat and incorporate by reference each and every allegation in the

preceding paragraphs as if set forth fully herein.

        30.     Mr. Harper and Ms. Otsuka are entitled under the Federal Credit Union Act to serve

the remainder of their terms as Members of the National Credit Union Administration Board. Once

confirmed by the Senate, Board Members serve six-year terms and may be removed only for cause.

See 12 U.S.C. § 1752a(c); supra.

        31.     The restriction against removal conforms to nearly a century of binding Supreme

Court precedent upholding materially identical protections for members of multimember boards

of independent federal agencies. Humphrey’s Executor v. United States, 295 U.S. 602 (1935);

Wiener v. United States, 357 U.S. 349 (1958).

        32.     President Trump’s purported termination of Mr. Harper and Ms. Otsuka was

unlawful. Mr. Morse’s emails to Plaintiffs provided no explanation or justification for removal, let

alone any assertion of cause sufficient to support such action under the governing statute.

        33.     As a result, the President’s termination of Mr. Harper and Mrs. Otsuka is ultra vires

and a clear violation of the statute.

                                  COUNT TWO
          ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. §§ 706(1) AND 706(2)
                  (Defendants Bessent, Fazio, Hauptman, and Morse)

        34.     Plaintiffs repeat and incorporate by reference each and every allegation in the

preceding paragraphs as if set forth fully herein.


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       35.     To the extent that Defendants Bessent, Fazio, Hauptman, and Morse exercise

authority with respect to, or on behalf of, the National Credit Union Administration Board without

regard to Plaintiffs’ position as Members, those actions are “not in accordance with the law,”

“contrary to constitutional right, power, privilege, or immunity,” “in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right,” and “without observance of

procedure required by law.” 5 U.S.C. § 706(2).

       36.     Plaintiffs seek to hold unlawful and set aside such final agency actions, pursuant to

section 706 of the Administrative Procedure Act and to compel agency action unlawfully withheld

or unreasonably delayed.

                              COUNT THREE
              DECLARATORY JUDGMENT ACT, 28 U.S.C. §§ 2201 and 2202
       37.     Plaintiffs repeat and incorporate by reference each and every allegation in the

preceding paragraphs as if set forth fully herein.

       38.     Plaintiffs are entitled to declaratory relief. There is a substantial and ongoing

controversy between Plaintiffs and the Defendants, and a declaration of rights under the

Declaratory Judgment Act is both necessary and appropriate to establish that Plaintiffs are

Members of the NCUA Board, and the President lacks authority to remove them absent cause.

                                   COUNT FOUR
                     VIOLATION OF THE SEPARATION OF POWERS
       39.     Plaintiffs repeat and incorporate by reference each and every allegation in the

preceding paragraphs as if set forth fully herein.

       40.     President Trump’s purported removal of Plaintiffs is further invalid because it

violates Article I, section 8 and Article II, sections 2 and 3 of the U.S. Constitution.

       41.     The Constitution empowers Congress to set reasonable limitations on the removal

of board members of independent agencies, as Congress did (see supra), and the Constitution does

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not confer on the President an authority to violate Congress’s scheme. The President’s purported

removal of Plaintiffs violates the authorities vested in and exercised by Congress and further

violates the President’s duty to “take Care that the Laws be faithfully executed.”

                                       COUNT FIVE
                                    WRIT OF MANDAMUS

       42.     Plaintiffs repeat and incorporate by reference each and every allegation in the

preceding paragraphs as if set forth fully herein.

       43.     In the alternative, Plaintiffs are entitled to a writ of mandamus. The removal

protections set forth in the National Credit Union Administration’s organic statute impose a clear,

ministerial duty on the President and subordinate officials not to remove Plaintiffs absent cause.

See Swan v. Clinton, 100 F.3d 973, 977–78 (D.C. Cir. 1996).

       44.     Plaintiffs are entitled to a writ of mandamus prohibiting their removal from office

and, absent this Court granting one of the counts identified above, there is no other adequate means

of redress. See Marbury v. Madison, 5 U.S. 136 (1803).

                                   COUNT SIX
                       EQUITABLE RELIEF FOR STATUTORY AND
                           CONSTITUTIONAL VIOLATIONS

       45.     Plaintiffs repeat and incorporate by reference each and every allegation in the

preceding paragraphs as if set forth fully herein.

       46.     In the alternative, Plaintiffs are entitled to equitable relief under this Court’s

equitable jurisdiction to prevent and restrain ongoing violations of both statutory and constitutional

federal law by the Defendants.

       47.     Equitable actions have long been recognized as the proper means to prevent public

officials from acting unconstitutionally. Because such actions seek simply to halt or prevent a

violation of federal law rather than the award of money damages, they do not ask the Court to


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imply a new cause of action, and indeed reflect a long history of judicial review of illegal executive

action, tracing back to England. Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326–27

(2015) (citing Am. Sch. of Magnetic Healing v. McAnnulty, 187 U.S. 94, 110 (1902)).

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that the Court enter judgment as follows:

               a. Declare that the President’s termination of Plaintiffs Todd M. Harper and Tanya
                  F. Otsuka was unlawful, and that they are Members of the National Credit
                  Union Administration Board;

               b. Declare that Plaintiffs Todd M. Harper and Tanya F. Otsuka are Members of
                  the National Credit Union Administration Board who may be removed by the
                  President only for cause;

               c. Order that Plaintiffs Todd M. Harper and Tanya F. Otsuka may not be removed
                  from their office as Members of the National Credit Union Administration
                  Board or in any way be treated as having been removed, denied or obstructed
                  in accessing any of the benefits or resources of their office, or otherwise be
                  obstructed from their ability to carry out their duties;

               d. Order that Plaintiffs Todd M. Harper and Tanya F. Otsuka remain Members of
                  the National Credit Union Administration Board, and order that Defendants
                  Bessent, Fazio, Hauptman, and Morse, may not exercise, authorize, or direct
                  the exercise of any authority with respect to, or on behalf of, the NCUA Board
                  in a manner that disregards their continuing status as Members;

               e. Order Defendants Bessent, Fazio, Hauptman, and Morse to provide Plaintiffs
                  Todd M. Harper and Tanya F. Otsuka all rights and privileges attendant to their
                  appointment, including all wages and benefits owed to them as Members of the
                  National Credit Union Administration Board;

               f. Award Plaintiffs their attorneys’ fees and costs; and

               g. Award such other and further relief as the Court may deem just and proper.




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Dated:      April 28, 2025                   By: /s/ Vincent Levy           .
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